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 1 LAW OFFICES OF CHRIS COSCA
 2 CHRISthCOSCA        (SBN 144546)
   1007 7 Street, Suite 210
 3 Sacramento, CA 95814
   (916) 440-1010
 4 Attorney for Defendant
   JAMES RANDOLPH SHERMAN
 5
 6
 7                             IN THE UNITED STATES DISTRICT COURT
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                        2:13-CR-00302 MCE
10
                                    Plaintiff,        STIPULATION REGARDING EXCLUDABLE
11                                                    TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                      ORDER
12
     JAMES RANDOLPH SHERMAN,                          DATE: December 10, 2015
13                                                    TIME:  9:00 a.m.
                                    Defendant.        COURT: Hon. Morrison C. England, Jr.
14
15
                                                 STIPULATION
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           1.       By previous order, this matter was set for trial confirmation hearing on December
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     10, 2015, and for trial on January 11, 2016.
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           2.       By this stipulation, the parties now move to vacate these dates and set a status
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     conference on February 18, 2016, and to exclude time between December 10, 2015, and
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     February 18, 2016, under Local Code T4.
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           3.       The parties agree and stipulate, and request that the Court find the following:
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                    a)    Discovery associated with this case includes 146 pages and multiple
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           CD/DVDs, some of which include lengthy surveillance, video and audio. This discovery
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           has been either produced directly to counsel and/or made available for inspection and
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           copying.
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                    b)    Counsel for Defendant Sherman was recently appointed and desires
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           additional time to review discovery and to confer with his client concerning discovery,
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            investigation, potential options for the defense and trial preparation.
      STIPULATION TO VACATE TCH AND TRIAL DATE AND     1
      SET FOR STATUS
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 1                c)     Counsel for defendant believes that failure to grant the above-requested

 2        continuance would deny counsel the reasonable time necessary for effective

 3        preparation, taking into account the exercise of due diligence.

 4                d)     The government does not object to the continuance.

 5                e)     Based on the above-stated findings, the ends of justice served by

 6        continuing the case as requested outweigh the interest of the public and the defendant

 7        in a trial within the original date prescribed by the Speedy Trial Act.

 8                f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

 9        § 3161, et seq., within which trial must commence, the time period of December 10,

10        2015, to February 18, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§

11        3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

12        the Court at defendants’ request on the basis of the Court’s finding that the ends of

13        justice served by taking such action outweigh the best interest of the public and the

14        defendant in a speedy trial.

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     STIPULATION TO VACATE TCH AND TRIAL DATE AND   2
     SET FOR STATUS
                Case 2:13-cr-00302-MCE Document 81 Filed 12/10/15 Page 3 of 3


 1         4.       Nothing in this stipulation and order shall preclude a finding that other provisions

 2 of the Speedy Trial Act dictate that additional time periods are excludable from the period
 3 within which a trial must commence.
 4         IT IS SO STIPULATED.

 5
 6 Dated: December 7, 2015
                                                           BENJAMIN B. WAGNER
 7                                                         United States Attorney
 8
                                                           /s/ JASON HITT
 9                                                         JASON HITT
                                                           Assistant United States
10                                                         Attorney
11
                                                           /s/ Chris Cosca
12 Dated: December 7, 2015
                                                           CHRIS COSCA
13
                                                           Counsel for Defendant
14                                                         JAMES SHERMAN

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16
                                                     ORDER
17
           IT IS SO ORDERED.
18
     Dated: December 10, 2015
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      STIPULATION TO VACATE TCH AND TRIAL DATE AND     3
      SET FOR STATUS
